     IN THE UNITED STATES BANKRUPTCY COURT FOR THE SOUTHERN DISTRICT
                       OF ALABAMA, SOUTHERN DIVISION

In re:
         Donna Fuller Little                                    CASE No. 13-00240-WSS

Debtor(s)                                                       Chapter 7

                                 TRUSTEE’S OBJECTION TO CLAIM # 4

                                          NOTICE OF OPPORTUNITY TO
                                           OBJECT AND FOR HEARING
Pursuant to Local Standing Order, the Court will consider this objection without further notice or hearing unless a
party in interest files a written objection within 30 days from the date of service of this paper. If you object to the
relief requested in this paper, you must file your written objection stating the specific ground or grounds on which
your objection is based with the Clerk of the Court at 201 St. Louis Street, Mobile, Alabama, 36602, and serve a
copy on the counsel for movant, D. Parker Sweet, P.O. Box 537, Daphne, Alabama, 36526.
If you file and serve a written objection stating the specific ground or grounds on which your objection is based
within the time permitted, the Court will schedule a hearing and you will be notified. If you do not file a proper
written objection within the time permitted, the Court will consider that you do not oppose the granting of the relief
requested in the paper, will proceed to consider the paper without further notice or hearing, and may grant the relief
requested.


         COMES NOW the Trustee in the above-styled case, D. Parker Sweet, and pursuant to Fed. R.
Bankr. P. 3007, objects to the claim of Nationstar Mortgage, Llc (Claim #4), and in support states the
following:
    1. The claim was filed as secured in certain assets of the estate that are not being administered by
         the trustee.
    2. In addition, the creditor has foreclosed its mortgage interest in the collateral and bid in the
         amount of $134,983.27 from claim at the foreclosure sale, per the foreclosure deed recorded at
         Instrument #1514151 in the probate records of Baldwin County, Alabama.
    3. If the claimant intends to claim an unsecured deficiency amount, it must amend its proof of claim
         accordingly. Otherwise, the claim should be disallowed.
         WHEREFORE, the Trustee prays this Court sustain his objection to the aforesaid claim and enter
an order disallowing the same, or grant such other, further, or different relief as the Court may deem just
and appropriate, the foregoing premises considered.
         Respectfully submitted this date, February 17, 2016,
                                                                /s/ D. Parker Sweet
                                                                Daniel Parker Sweet (SWEED1464)
                                                                Chapter 7 Trustee
                                                                P.O. Box 537
                                                                Daphne, AL 36526
                                                                trustee@crabtreesweet.com
                                                                Ph. 251.626.3322 Fax 251.626.4799



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                                    Verification of Objection to Claim

        I the undersigned, declare under penalty of perjury that I have read the statements contained in
the foregoing objection and that they are true and correct to the best of my knowledge, information, and
belief.

        /s/ D. Parker Sweet               Date: 2016-02-17
        Daniel Parker Sweet



                                       CERTIFICATE OF SERVICE
         I hereby certify that on the date of filing I have served a true and correct copy of the foregoing on
all parties who presently receive electronic notices in the above-styled case by electronic filing with the
CM/ECF system, and by depositing a true and correct copy of the same, properly addressed and postage
paid, in the US mail addressed to each party entitled to notice thereof who presently does not receive
notices electronically in this case. Parties thus noticed include:

Nationstar Mortgage, LLC
350 Highland Drive
Lewisville, TX 75067
(via First Class Mail)

                                                  /s/ D. Parker Sweet
                                                  Daniel Parker Sweet (SWEED1464)




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In re:
         Donna Fuller Little                             CASE No. 13-00240-WSS

Debtor(s)                                                Chapter 7

                       ORDER ON TRUSTEE’S OBJECTION TO CLAIM #4

        THIS MATTER having come before the Court upon the Trustee’s objection, filed negative
notice, and the same having been served, together with the proposed form of order, upon all interested
parties with the negative notice legend informing the parties of their opportunity to object within 30 days
of the date of service; and

        No party having filed a written objection stating a specific ground or grounds on which said
objection is based within the time permitted; and

      The court therefore considering the matter to be unopposed; it is then ORDERED, ADJUDGED,
and DECREED that the Trustee’s objection to the claim of Nationstar Mortgage, LLC (Claim # 4) is
SUSTAINED and said claim is hereby disallowed.

                                BY THE COURT

                                (Proposed order only; not valid unless/until signed by the Court.)

Date: __________                                 ____________________________________
                                                 United States Bankruptcy Judge




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